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 4                                                                                MAR 29, 2017
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 7                                               UNITED STATES DISTRICT COURT
 8                                               CENTRAL DISTRICT OF CALIFORNIA
 9
10   DANIEL WEINTRAUB                                       )   Case No. LA 17-cv-00057 VAP (ASx)
                                                            )
11                                    Plaintiffs,           )
                                                            )   ORDER OF DISMISSAL
12              v.                                          )
                                                            )
13   JP MORGAN CHASE BANK,                                  )
                                                            )
14                   Defendants.                            )
     ____________________________                           )
15
16          The Court having been advised by counsel for the parties that the above-entitled
     action has settled,
17
18          IT IS ORDERED that this action be, and hereby is, dismissed in its entirety without
     prejudice.
19
20         THE COURT to retain jurisdiction for a period of sixty (60) days to enforce the
     terms of the settlement.
21
22
23   Dated: March 29, 2017
                                                                  VIRGINIA A. PHILLIPS
24                                                                Chief United States District Judge
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